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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR14-181-JCC
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   VINCENT G. THOMPSON,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Robbery; Bank Robbery (two counts)

15 Date of Detention Hearing:     June 27, 2014.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant and two co-defendants have been indicted for Conspiracy to Commit



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01 Bank Robbery and multiple counts of Bank Robbery allegedly committed in this District

02 between April 1 and April 11, 2014. The conspiracy is alleged to have also involved two

03 juveniles.

04         2.      Defendant’s criminal record includes previous robbery and weapons charges,

05 with a number of failures to appear in the last two years and current, outstanding bench

06 warrants.

07         3.      Defendant does not contest detention.

08         4.      The defendant poses a risk of nonappearance due to non-compliance with

09 probation, outstanding warrants, sporadic employment and pending cases. He poses a risk of

10 danger due to the nature of the charges and his criminal history.

11         5.      There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the

13 danger to other persons or the community.

14 It is therefore ORDERED:

15      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

16         General for confinement in a correction facility separate, to the extent practicable, from

17         persons awaiting or serving sentences or being held in custody pending appeal;

18      2. Defendant shall be afforded reasonable opportunity for private consultation with

19         counsel;

20      3. On order of the United States or on request of an attorney for the Government, the

21         person in charge of the corrections facility in which defendant is confined shall deliver

22         the defendant to a United States Marshal for the purpose of an appearance in connection



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01        with a court proceeding; and

02     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

03        for the defendant, to the United States Marshal, and to the United State Pretrial Services

04        Officer.

05        DATED this 27th day of June, 2014.

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07                                                      A
                                                        Mary Alice Theiler
08                                                      Chief United States Magistrate Judge

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